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         EXHIBIT B
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 1 Frankie Greer v. County of San Diego, et al.
     Case No. 3:19-CV-0378-GPC AGS
 2
 3                                  PROOF OF SERVICE
 4        At the time of service, I was over 18 years of age and not a party to this action.

 5 My business address is 8100 La Mesa Blvd., Suite 200, La Mesa, California, 91942.
 6        On September 22, 2021, I served the following document(s): COUNTY OF SAN
 7 DIEGO’S RESPONSE TO PLAINTIFF’S REQUESTS FOR ADMISSIONS, SET ONE,
 8 in the following manner:
 9           By CM/ECF: I caused to be transmitted a copy of the foregoing document(s)
10           this date via the United States District Court’s ECF System, which
             electronically notifies all counsel.
11           By e-mail or electronic transmission. I caused all of the pages of the above-
12           entitled documents to be electronically served on designated recipients.
13 Eugene Iredale, Esq.                             Jeffrey S. Doggett, Esq.
     Julia Yoo, Esq.                                Brian T. Bloodworth, Esq.
14   Grace Jun, Esq.                                LOTZ, DOGGETT & RAWERS, LLP
     IREDALE & YOO                                  101 W. Broadway, Suite 1110
15   105 West F Street, Fourth Floor                San Diego, CA 91901
     San Diego, CA 92101-6036                       Telephone: (619) 233-5565
16   Telephone: (619) 233-1525                      Facsimile:
     Facsimile: (619) 233-3221                      Email: jdoggett@ldrlaw.com
17   Email: egiredale@iredalelaw.com                Email: bbloodworth@ldrlaw.com
     Email: jyoo@iredalelaw.com
18   Email: gjun@iredalelaw.com                     Attorneys for Maurcio Martinez and
                                                    Coast Correctional Medical Group
19 Attorney for Plaintiff, Frankie Greer
20
21        I declare under penalty of perjury under the laws of the State of California that the
22 above is true and correct and that this proof of service was executed on September 22,
23 2021, in La Mesa, California.
24
25                                              _____________________________
                                                      Amy Blake
26
27
28

                                                1
                                        PROOF OF SERVICE
